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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               JACKSON DIVISION



UNITED STATES OF AMERICA                                                          PLAINTIFF

vs.                                                              Criminal No. 3:03-cr-120WS

PAUL S. MINOR, JOHN H. WHITFIELD,
OLIVER E. DIAZ, JR., JENNIFER DIAZ, AND
WALTER W. “WES” TEEL                                                          DEFENDANTS




                                             ORDER

       This Court has before it defendant’s submitted “exceptions” from electronic monitoring.

Defendant asks this court to de-activate the monitoring equipment during those times,

traveling under paragraph 12 of the Court’s August 13, 2006 Order.

       If adopted, defendant’s schedule of exceptions would take effect at 7:15 a.m. and

virtually continue until 10:30 p.m., with activation occurring for forty-five (45) minutes between

5:00 and 5:45 p.m., seventy-five (75) minutes between 8:15 p.m. and 9:30 p.m. Once

defendant retires at 10:30 p.m., he again would be on electronic monitoring until he would

arise from bed before 7:15 a.m.

       Thus, under defendant’s schedule of exceptions, he would spend a total of one

hundred twenty (120) minutes during his waking hours, that is, two (2) hours a day.

       Defendant suggests as exceptions: walking of family dogs; physical fitness; dinner;

dinner with mother-in-law outside of residence; and grocery shopping. He also includes”AA”

meetings, trial preparation with attorneys, travel, etc.
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      Apparently, defendant grossly misunderstands the purpose of electronic monitoring

here. Further, defendant is unmindful of what constitutes “exceptions”.

      Accordingly, this court hereby reaffirms its order imposing electronic monitoring upon

defendant. The defendant is to remain under such with no exceptions unless otherwise

ordered by the Court. Defendant’s trial team may consult with defendant at his home in

Baton Rouge, Louisiana where he is under electronic monitoring.

      SO ORDERED AND ADJUDGED, this the 24th day of August, 2006



                                               s/ HENRY T. WINGATE
                                               ____________________________________
                                               UNITED STATES DISTRICT JUDGE


ORDER
CRIMINAL ACTION NO. 3:03cr120WS-1
